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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 JOHN KELLEY et al.,                           §
                                               §
          Plaintiffs,                          §
                                               §
 v.                                            §       Civil Action No. 4:20-cv-00283-O
                                               §
 XAVIER BECERRA et al.,                        §
                                               §
          Defendants.                          §

                                           ORDER

         Before the Court is the parties’ Consent Motion to Amend Briefing Schedule (ECF No.

51), filed January 7, 2022. Noting the agreement of the parties and finding good cause to amend,

the Court GRANTS the Motion. Accordingly, the Court ORDERS the following:

         1)   Defendants’ Combined Response & Cross Motion for Summary Judgment is due

              January 28, 2022.

         2)   Plaintiffs’ Combined Reply & Response to Cross-Motion for Summary Judgment is

              due February 28.

         3)   Defendants’ Reply to Cross-Motion for Summary Judgment is due March 21.

         SO ORDERED on this 7th day of January, 2022.


                                                   _____________________________________
                                                   Reed O’Connor
                                                   UNITED STATES DISTRICT JUDGE
